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10
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11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13
     In re: CATHODE RAY TUBE (CRT)
14   ANTITRUST LITIGATION
                                                       Master File No. 3:07-cv-05944-SC (N.D. Cal.)
     This Document Relates to Individual Case No.      MDL No. 1917
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16   3:13-cv-02171-SC

17
     DELL INC. and DELL PRODUCTS L.P.,                 Individual Case No. 3:13-cv-02171-SC
18
            Plaintiffs,
19
            v.                                         STIPULATION AND [PROPOSED]
20                                                     ORDER REGARDING SCHEDULING
     HITACHI, LTD., et al.,
21
            Defendants.
22
            Plaintiffs Dell Inc. and Dell Products L.P. (collectively “Dell”) and Defendants LG
23
     Electronics, Inc. and LG Electronics USA, Inc. (collectively “LGE”) have conferred by and
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     through their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS
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     FOLLOWS:
26
     WHEREAS, on July, 30 2014, Dell served its Second Set of Interrogatories and Second Set of
27
     Requests for Production on LGE.
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     STIPULATION AND [PROPOSED] ORDER                                                 Case No. 07-5944
     REGARDING SCHEDULING                                                              MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2887 Filed 10/02/14 Page 2 of 3



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     WHEREAS, LGE responded and objected to Dell’s Second Set of Interrogatories and Second Set
 2
     of Requests for Production on September 2, 2014.
 3
     WHEREAS, September 5, 2014 was the deadline to complete fact discovery in the Dell action.
 4
     WHEREAS, September 12, 2014 is the deadline for all parties to object to or move to compel
 5
     additional responses for all written discovery responses in the Dell action.
 6
     WHEREAS, Dell and LGE have conferred in good faith and continue to negotiate potential
 7
     supplemental responses and production of documents by LGE to certain interrogatories and
 8
     requests from Dell’s Second Set of Interrogatories and Second Set of Requests for Production.
 9
     NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as
10
     follows: the deadline for Dell to move to compel additional responses to Interrogatory 1, 2, 4 from
11
     Dell’s Second Set of Interrogatories and Request 1, 3, 5, 7 from Dell’s Second Set of Requests for
12
     Production to LGE shall be moved to one week following LGE’s supplemental responses and
13
     production. If Dell and LGE do not reach an agreement by September 19, 2014, Dell retains the
14
     right to move to compel responses from LGE with respect to those interrogatories and requests
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     noted above from Dell’s Second Set of Interrogatories and Second Set of Requests for Production
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     to LGE. All other dates in the Scheduling Order are unaffected by this stipulation.
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                                                                                ISTRIC
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     * * *
18                                                                        T              TC
                                                                         A
                                                                        T enter this stipulation as an
     The undersigned parties jointly and respectfully request that the Court


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                                                                     ED




                                                                                                RT
     order.
                                                                                 VED
                                                                 UNIT




                                                                            APPRO
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.

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                                                                 NO




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22
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                                                                  RT




23          October 2, 2014
     Dated:___________________                          ______________________________________
                                                                                                LI



                                                                    Hon.
                                                                    E Samuel Conti
                                                                     H




                                                                                               A




24                                                              UnitedRStates
                                                                       N        District Judge F C
                                                                             D IS T IC T O
25   DATED: September 12, 2014                     ALSTON & BIRD LLP               R

26                                                 By:     /s/ Debra D. Bernstein
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     STIPULATION AND [PROPOSED] ORDER                                                      Case No. 07-5944
     REGARDING SCHEDULING                                                                   MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2887 Filed 10/02/14 Page 3 of 3



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                                                   Electronics USA, Inc.
15

16                                               * * *

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            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
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     document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
     REGARDING SCHEDULING                                                                  MDL NO. 1917
